
13 Mich. App. 588 (1968)
164 N.W.2d 754
PEOPLE
v.
HARBIN.
Docket No. 4,365.
Michigan Court of Appeals.
Decided October 21, 1968.
Frank J. Kelley, Attorney General, Robert A. Derengoski, Solicitor General, William F. Delhey, Prosecuting Attorney, and Robert B. Creal, Assistant Prosecuting Attorney, for the people.
Henry D. Arkison, for defendant.
*589 PER CURIAM:
Defendant was convicted of resisting an arrest for being drunk and disorderly in a public place. The record discloses ample evidence that appellant was intoxicated at the time of the arrest. The question presented is whether the arrest was lawful and, consequently, the resistance unlawful.
Defendant claims that his status as a work-release prisoner awaiting transport back to Federal prison renders him immune from arrest by state authorities. There is no such immunity. Defendant was intoxicated in a public place, an Ypsilanti township intersection, and thereby subject to arrest. CL 1948, § 750.167 as amended by PA 1964, No 144 (Stat Ann 1968 Cum Supp § 28.364). The observations of the arresting officers provided probable cause for the arrest. Resistance to a legal arrest is illegal. CL 1948, § 750.479 (Stat Ann 1954 Rev § 28.747). We find no prejudicial error in the lower court record.
Affirmed.
T.G. KAVANAGH, P.J., and McGREGOR and PHILIP C. ELLIOTT, JJ., concurred.
